Case 2:18-bk-00434-DPC   Doc 52 Filed 05/30/18 Entered 05/30/18 13:46:47   Desc
                          Main Document    Page 1 of 7
Case 2:18-bk-00434-DPC   Doc 52 Filed 05/30/18 Entered 05/30/18 13:46:47   Desc
                          Main Document    Page 2 of 7
Case 2:18-bk-00434-DPC   Doc 52 Filed 05/30/18 Entered 05/30/18 13:46:47   Desc
                          Main Document    Page 3 of 7
Case 2:18-bk-00434-DPC   Doc 52 Filed 05/30/18 Entered 05/30/18 13:46:47   Desc
                          Main Document    Page 4 of 7
Case 2:18-bk-00434-DPC   Doc 52 Filed 05/30/18 Entered 05/30/18 13:46:47   Desc
                          Main Document    Page 5 of 7
Case 2:18-bk-00434-DPC   Doc 52 Filed 05/30/18 Entered 05/30/18 13:46:47   Desc
                          Main Document    Page 6 of 7
Case 2:18-bk-00434-DPC   Doc 52 Filed 05/30/18 Entered 05/30/18 13:46:47   Desc
                          Main Document    Page 7 of 7
